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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY
                                 OWENSBORO DIVISION

  JOHNNY MCCLURG,                                        )
  on Behalf of Himself and                               )
  All Others Similarly-Situated                          )
                                                         )
                                  Plaintiff,             )
  vs.                                                    ) Civil Action No. 4:20-CV-201-JHM
                                                         ) Sr. District Judge Joseph H. McKinley, Jr.
  DALLAS JONES ENTERPRISES, INC.                         )
  d/b/a CLAY’S TRUCKING, et al.                          )
                                                         )
                                  Defendants.            )


    DEFENDANTS DALLAS JONES AND BROC[K] PORTER’S MOTION TO DISMISS
                       PURSUANT TO FRCP 12(b)(6)



         Come now Defendants, Broc[k] Porter and Dallas Jones, by and through counsel, and for

  their Motion to Dismiss Pursuant to FRCP 12(b)(6), and in support of the same, states as follows:

         Pursuant to FRCP 12(b)(6), the instant Third Amended Collective and Class Action

  Complaint (DN 84) (hereinafter referred to as the “Third Amended Complaint), served upon Dallas

  Jones and Broc[k] Porter fails to state a claim upon which relief can be granted.

         Certification of FLSA collective actions typically proceeds in two steps: “The first takes

  place at the beginning of discovery. The second occurs after ‘all of the opt-in forms have been

  received and discovery has concluded.’ ” Comer v. Wal-Mart Stores, Inc., 454 F.3d 544, 546 (6th

  Cir. 2006) (quoting Goldman v. RadioShack Corp., 2003 WL 21250571, at *6 (E.D. Pa. Apr. 17,

  2003)). At the first stage, “certification is conditional.” Comer, 454 F.3d at 546 (quoting Pritchard

  v. Dent Wizard Int’l Corp., 210 F.R.D. 591, 595 (S.D. Ohio 2002)). Courts deciding to

  conditionally certify a class apply “a fairly lenient standard” and conditional certification is usually

  granted. Comer, 454 F.3d at 547 (quoting Morisky v. Public Service Elec. and Gas Co., 111
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  F.Supp.2d 493, 497 (D.N.J. 2000)).

         The pertinent authority is clear that plaintiffs are similarly situated for FLSA purposes

  “when they suffer from a single, FLSA-violating policy, and when proof of that policy or of

  conduct in conformity with that policy proves a violation as to all the plaintiffs.” O’Brien v. Ed

  Donnelly Enters., Inc., 575 F.3d 567, 585 (6th Cir. 2009), rev’d on other grounds sub nom.

  Campbell-Ewald Co. v. Gomez, 136 S.Ct. 663 (2016). But courts often consider “employment

  settings, individual defenses, and the fairness and procedural impact of certification.” Frye v.

  Baptist Mem’l Hosp., Inc., 495 F. App’x 669, 672 (6th Cir. 2012) (citing O’Brien, 575 F.3d at 584).

         In this matter, Plaintiffs sought and received certification of a collective action, prior to

  Defendants Broc[k] Porter and Dallas Jones being named as a party in the matter. Thus, there

  could not have been any of the findings necessary in collective actions taken in this matter as it

  relates to Defendants Dallas Jones and Broc[k] Porter, as this matter was conditionally certified on

  or about the 3rd day of December, 2021 (DN 59). Further, there would be a question as to what

  exact case and against which defendants any potential or prospective plaintiff is if being asked to

  “opt-in” against, as Defendants Broc[k] Porter and Dallas Jones were only recently added as named

  Defendants herein. For these reasons, Plaintiffs have failed to state a claim upon which relief can

  be granted.

         WHEREFORE, Defendants Dallas Jones and Broc[k] Porter respectfully request the relief

  herein and above sought.




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         This the 15th day of June, 2022.

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                                                       /s/ David F. Broderick__________________
                                                       DAVID F. BRODERICK
                                                       BRANDON T. MURLEY



                                  CERTIFICATE OF SERVICE


        I hereby certify that I electronically filed the forgoing with the Clerk of the Court by using
  the CM/ECF system, which will send notice of electronic filing to the following:
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         This the 15th day of June, 2022.              /s/ David F. Broderick__________________
                                                       DAVID F. BRODERICK
                                                       BRANDON T. MURLEY




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